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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

IN RE: RAED AMEEN ALNAMER : CHAPTER 7

DEBTOR
CASE NO. 18-19327-KHT

 

AMERICAN EXPRESS NATIONAL BANK

PLAINTIFF
ADVERSARY NO. 19-01036-KHT
vs
RAED AMEEN ALNAMER
DEFENDANT
CERTIFICATE OF SERVICE

 

I, Camille Linn, certify that I am, and at all times during the service of process was, not less than 18
years of age and not a party to the matter concerning which service of process was made. I further certify that
the service of this summons and copy of the complaint was made February 1, 2019 by mail service: Regular,

first class United States mail, postage fully pre-paid, addressed to:

Raed Ameed Alnamer David M. Serafin
6429 S, Oak Hill Circle 501 S. Cherry Street, Ste. 1100
Aurora, CO 80016-2493 Denver, CO 80246

Under penalty of perjury, I declare that the foregoing is true and correct.

U , [2014 2 —
Date Signature K)

1660 Lincoln Street, Suite 2850
Denver, CO 80264

 
